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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

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THE UNITED STATES OF AMERICA                                       :
                                                                   :
                                  Plaintiff,                       :
                                                                   :
                       – v. –                                      :   No. 1:17-cv-2511-RJL
                                                                   :
AT&T INC., ET AL,                                                  :
                                                                   :
                                  Defendants.                      :
                                                                   :
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NOTICE OF ERROR IN GOVERNMENT’S RESPONSE TO MOTION FOR LEAVE TO
                        FILE AMICUS BRIEF

        The undersigned counsel for amici file this notice on their own behalf to correct a

misstatement in the government’s response to amici’s motion for leave to file an amicus brief

(ECF No. 74). The government states that “the proposed amicus curiae has filed a separate and

ongoing action related to a FOIA request. The subject of the FOIA request and subsequent

litigation relates directly to the Memorandum Opinion and Order of this Court from February 20,

2018.” That is incorrect. The government refers to a FOIA request and subsequent lawsuit filed

by counsel for amici in this matter, The Protect Democracy Project (“Protect Democracy”).

Protect Democracy is not a proposed amicus curiae in this case. And the proposed amici

themselves—a bipartisan group of former DOJ officials with no affiliation with Protect

Democracy other than as clients in this case—have filed no such FOIA request or litigation. It is

difficult to see how the fact that amici’s counsel have sued to enforce statutory rights under

FOIA has any bearing on amici’s rights to raise serious constitutional concerns about possible
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White House interference in this matter. FOIA certainly provides no substitute for consideration

of the constitutional concerns set forth in the proposed brief.

Date: March 12, 2018                          /s/ Benjamin L. Berwick
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                                              Of Counsel to Amici




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